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 12                       UNITED STATES DISTRICT COURT
 13                      CENTRAL DISTRICT OF CALIFORNIA
                               SOUTHERN DIVISION
 14
      SERENA FLEITES,                           CASE NO. 2:21-CV-04920-CJC-ADS
 15
                Plaintiff,                      Judicial Officer:   Cormac J. Carney
 16                                             Courtroom: 9B
           v.
 17                                             [PROPOSED] ORDER GRANTING
    MINDGEEK S.A.R.L.; MG                       MINDGEEK’S MOTION TO
 18 FREESITES, LTD; MINDGEEK USA                DISMISS AMENDED COMPLAINT
                                                FOR LACK OF PERSONAL
 19 INCORPORATED; MG PREMIUM                    JURISDICTION AND FAILURE TO
    LTD.; MG GLOBAL                             STATE A CLAIM
 20
    ENTERTAINMENT INC.; 9219-5618               Hearing:   August 8, 2022
 21 QUEBEC INC.; BERND BERGMAIR;                Time:      1:30 p.m.
    FERAS ANTOON; DAVID                         Courtroom: 9B
 22
    TASSILLO; COREY URMAN; VISA
 23 INC.; COLBECK CAPITAL DOES 1-
    5; BERGMAIR DOES 1-5
 24
 25           Defendants.
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                                   ID #:2423


  1        The Motion to Dismiss the Complaint by Defendants MindGeek S.A.R.L., MG
  2 Freesites Ltd, MindGeek USA Inc., MG Premium Ltd, MG Global Entertainment
  3 Inc., and 9219-1568 Quebec Inc. (collectively “MindGeek”) for Lack of Jurisdiction
  4 and Failure to State a Claim was heard on August 8, 2022, at 1:30 P.M. by this Court.
  5 Having considered all papers filed in support of and in opposition to the Motion to
  6 Dismiss, oral arguments of counsel, and all other pleadings and papers on file herein,
  7 IT IS HEREBY ORDERED that MindGeek’s Motion is GRANTED.
  8        Accordingly, Plaintiff’s First Amended Complaint is hereby DISMISSED
  9 WITH PREJUDICE.
 10        IT IS SO ORDERED.
 11
 12 Dated: ______________
 13                                                     Honorable Cormac J. Carney

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                                                           CASE NO. 21-CV-04920-CJC-ADS
          [PROPOSED] ORDER GRANTING MINDGEEK’S MOTION TO DISMISS THE COMPLAINT
